




People v. Hamilton, 



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Docket No. 82148--Agenda 31--May 1997.

 &nbsp;&nbsp;&nbsp;&nbsp;THE PEOPLE OF THE STATE OF ILLINOIS, Appellee, v. ANTONIO

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;HAMILTON, Appellant.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Opinion filed December 18, 1997.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE NICKELS delivered the opinion of the court:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Following a jury trial in the circuit court of McLean County, defendant,

 &nbsp;&nbsp;&nbsp;&nbsp;Antonio Hamilton, was convicted of residential burglary (720 ILCS 5/19--3(a)

 &nbsp;&nbsp;&nbsp;&nbsp;(West 1994)) and sentenced to a prison term of 18 years. A divided appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court affirmed (283 Ill. App. 3d 854), and this court granted defendant's petition

 &nbsp;&nbsp;&nbsp;&nbsp;for leave to appeal (166 Ill. 2d R. 315(a)).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The evidence at trial revealed that at approximately 8:30 a.m. on January

 &nbsp;&nbsp;&nbsp;&nbsp;29, 1994, Bob Williams was in the kitchen of his home drinking coffee and

 &nbsp;&nbsp;&nbsp;&nbsp;reading the newspaper. At the time, Bob's wife, Rita, was still asleep in the

 &nbsp;&nbsp;&nbsp;&nbsp;couple's bedroom adjacent to the dining room of the home. Bob's six-year-old son

 &nbsp;&nbsp;&nbsp;&nbsp;entered the kitchen and told his father that there was someone at the front door

 &nbsp;&nbsp;&nbsp;&nbsp;to see him. As Bob walked through the dining room towards the front door, he

 &nbsp;&nbsp;&nbsp;&nbsp;observed defendant coming out of the bedroom where Rita was sleeping.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Bob testified that defendant immediately said "something to the effect of,

 &nbsp;&nbsp;&nbsp;&nbsp;she owes me money or something like that." Bob yelled at defendant, grabbed

 &nbsp;&nbsp;&nbsp;&nbsp;him, and then pushed him towards the front door. As the two reached the front

 &nbsp;&nbsp;&nbsp;&nbsp;door, Bob noticed that defendant was concealing Rita's purse beneath his jacket.

 &nbsp;&nbsp;&nbsp;&nbsp;Bob attempted to take the purse and defendant tried to pull away from Bob's

 &nbsp;&nbsp;&nbsp;&nbsp;grasp. During the scuffle, defendant somehow slipped out of the jacket and

 &nbsp;&nbsp;&nbsp;&nbsp;escaped out the front door, still carrying Rita's purse.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Rita testified that she was awakened by the sounds of a scuffle and her

 &nbsp;&nbsp;&nbsp;&nbsp;husband yelling, "What are you doing here? You just don't walk into people's

 &nbsp;&nbsp;&nbsp;&nbsp;houses." Bob then yelled for Rita to call the police. As Rita was on the telephone

 &nbsp;&nbsp;&nbsp;&nbsp;talking to the police, she could see that defendant was standing in their backyard.

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant then returned to the front door, placed the purse on the porch, and

 &nbsp;&nbsp;&nbsp;&nbsp;requested his jacket. Bob warned defendant that the police were on the way and

 &nbsp;&nbsp;&nbsp;&nbsp;then stepped out, picked up the purse, and threw defendant the jacket. Defendant

 &nbsp;&nbsp;&nbsp;&nbsp;walked to a car parked across the street and departed. Shortly thereafter, Rita

 &nbsp;&nbsp;&nbsp;&nbsp;discovered that her wallet was missing from the purse.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;During the investigation into the incident, Bob identified defendant from

 &nbsp;&nbsp;&nbsp;&nbsp;a photo lineup as the assailant. Detective Richard Barkes testified that during an

 &nbsp;&nbsp;&nbsp;&nbsp;interview, defendant admitted that he went to the Williamses' residence and took

 &nbsp;&nbsp;&nbsp;&nbsp;a purse out of a bedroom. In a typewritten statement allowed into evidence,

 &nbsp;&nbsp;&nbsp;&nbsp;defendant claimed that he went to the home in search of a woman named Chrissy,

 &nbsp;&nbsp;&nbsp;&nbsp;who owed him money for drugs. Defendant asserted that he was let into the home

 &nbsp;&nbsp;&nbsp;&nbsp;and directed to the bedroom to find the woman. In the bedroom defendant found

 &nbsp;&nbsp;&nbsp;&nbsp;a purse, but before he could retrieve the money he was owed he was grabbed by

 &nbsp;&nbsp;&nbsp;&nbsp;Bob. Defendant claimed that when he noticed Rita was not the woman he was

 &nbsp;&nbsp;&nbsp;&nbsp;looking for, he returned the purse. However, defendant admitted taking a wallet

 &nbsp;&nbsp;&nbsp;&nbsp;from the purse and later dropping it into a mailbox.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant did not present any evidence. At the jury instruction conference,

 &nbsp;&nbsp;&nbsp;&nbsp;defense counsel tendered instructions in the form of Illinois Pattern Jury

 &nbsp;&nbsp;&nbsp;&nbsp;Instructions, Criminal, No. 26.01Q (3d ed. 1992) (theft as a lesser included offense

 &nbsp;&nbsp;&nbsp;&nbsp;of residential burglary) (hereinafter IPI Criminal 3d), IPI Criminal 3d No. 13.01

 &nbsp;&nbsp;&nbsp;&nbsp;(definition of theft by unauthorized control), and IPI Criminal 3d No. 13.02 (issues

 &nbsp;&nbsp;&nbsp;&nbsp;in theft by unauthorized control). The circuit court initially accepted defendant's

 &nbsp;&nbsp;&nbsp;&nbsp;tendered instructions over the State's objection. However, after the State cited

 &nbsp;&nbsp;&nbsp;&nbsp;authority for the proposition that theft is not a lesser included offense of

 &nbsp;&nbsp;&nbsp;&nbsp;residential burglary, the circuit court reversed itself and denied all defendant's

 &nbsp;&nbsp;&nbsp;&nbsp;instructions. Subsequently, defendant was convicted of residential burglary, and,

 &nbsp;&nbsp;&nbsp;&nbsp;with one justice dissenting, the appellate court affirmed (283 Ill. App. 3d 854).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Before this court, defendant contends that he is entitled to a new trial

 &nbsp;&nbsp;&nbsp;&nbsp;because the circuit court erroneously refused his tendered instructions on the lesser

 &nbsp;&nbsp;&nbsp;&nbsp;included offense of theft (720 ILCS 5/16--1 (West Supp. 1995)). Defendant

 &nbsp;&nbsp;&nbsp;&nbsp;observes that the circuit court relied on People v. Schmidt, 126 Ill. 2d 179 (1988),

 &nbsp;&nbsp;&nbsp;&nbsp;for its finding that theft is not a lesser included offense of residential burglary.

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant argues that this was error because Schmidt did not utilize the charging

 &nbsp;&nbsp;&nbsp;&nbsp;instrument approach, adopted in People v. Novak, 163 Ill. 2d 93 (1994), as the

 &nbsp;&nbsp;&nbsp;&nbsp;appropriate method to determine whether a lesser offense is included in the

 &nbsp;&nbsp;&nbsp;&nbsp;charged offense. Defendant further argues that, although the majority of the

 &nbsp;&nbsp;&nbsp;&nbsp;appellate court discussed Novak, it nevertheless applied the analysis incorrectly in

 &nbsp;&nbsp;&nbsp;&nbsp;affirming the circuit court. Defendant believes that a proper analysis leads to the

 &nbsp;&nbsp;&nbsp;&nbsp;conclusion that, as charged in this case, theft is a lesser included offense of

 &nbsp;&nbsp;&nbsp;&nbsp;residential burglary.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We note at the outset that the appellate court, after thoroughly addressing

 &nbsp;&nbsp;&nbsp;&nbsp;the jury instruction issue, determined that it was waived. Nevertheless, the waiver

 &nbsp;&nbsp;&nbsp;&nbsp;rule is a limitation on the parties, not a limitation on the jurisdiction of the courts.

 &nbsp;&nbsp;&nbsp;&nbsp;Herzog v. Lexington Township, 167 Ill. 2d 288, 300 (1995). In the interest of

 &nbsp;&nbsp;&nbsp;&nbsp;preserving a sound and uniform body of precedent, we address the issue. Jackson

 &nbsp;&nbsp;&nbsp;&nbsp;Jordan, Inc. v. Leydig, Voit &amp; Mayer, 158 Ill. 2d 240, 251 (1994).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Generally, a defendant may not be convicted of an offense for which he

 &nbsp;&nbsp;&nbsp;&nbsp;has not been charged. Novak, 163 Ill. 2d at 105. However, in an appropriate case,

 &nbsp;&nbsp;&nbsp;&nbsp;a defendant is entitled to have the jury instructed on a less serious offense if that

 &nbsp;&nbsp;&nbsp;&nbsp;offense is included in the charged offense. People v. Landwer, 166 Ill. 2d 475,

 &nbsp;&nbsp;&nbsp;&nbsp;485-86 (1995). The purpose of an instruction on a lesser offense is to provide "an

 &nbsp;&nbsp;&nbsp;&nbsp;important third option to a jury which, believing that the defendant is guilty of

 &nbsp;&nbsp;&nbsp;&nbsp;something but uncertain whether the charged offense has been proved, might

 &nbsp;&nbsp;&nbsp;&nbsp;otherwise convict rather than acquit the defendant of the greater offense." People

 &nbsp;&nbsp;&nbsp;&nbsp;v. Bryant, 113 Ill. 2d 497, 502 (1986), citing Keeble v. United States, 412 U.S.

 &nbsp;&nbsp;&nbsp;&nbsp;205, 212-13, 36 L. Ed. 2d 844, 850, 93 S. Ct. 1993, 1997-98 (1973).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An included offense is an offense which "[i]s established by proof of the

 &nbsp;&nbsp;&nbsp;&nbsp;same or less than all of the facts or a less culpable mental state (or both), than

 &nbsp;&nbsp;&nbsp;&nbsp;that which is required to establish the commission of the offense charged." 720

 &nbsp;&nbsp;&nbsp;&nbsp;ILCS 5/2--9(a) (West 1994). In determining whether a particular offense is

 &nbsp;&nbsp;&nbsp;&nbsp;included in a charged offense, this court has held that the proper approach is to

 &nbsp;&nbsp;&nbsp;&nbsp;examine both the charging instrument and the evidence adduced at trial. Landwer,

 &nbsp;&nbsp;&nbsp;&nbsp;166 Ill. 2d at 486. Under this charging instrument approach, an offense is

 &nbsp;&nbsp;&nbsp;&nbsp;identified as a lesser included offense if it is described by the charging instrument.

 &nbsp;&nbsp;&nbsp;&nbsp;People v. Jones, 175 Ill. 2d 126, 135 (1997), citing Novak, 163 Ill. 2d at 107.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Once a lesser included offense is identified, however, it does not

 &nbsp;&nbsp;&nbsp;&nbsp;automatically follow that the jury must be instructed on the lesser offense. Novak,

 &nbsp;&nbsp;&nbsp;&nbsp;163 Ill. 2d at 108. A defendant is entitled to a lesser included offense instruction

 &nbsp;&nbsp;&nbsp;&nbsp;only if an examination of the evidence reveals that it would permit a jury to

 &nbsp;&nbsp;&nbsp;&nbsp;rationally find the defendant guilty of the lesser offense yet acquit the defendant

 &nbsp;&nbsp;&nbsp;&nbsp;of the greater offense. Jones, 175 Ill. 2d at 135; Landwer, 166 Ill. 2d at 486.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applying these principles to the instant case, we must first determine

 &nbsp;&nbsp;&nbsp;&nbsp;whether the charging instrument describes the included offense such that the

 &nbsp;&nbsp;&nbsp;&nbsp;included offense may be proved by the same facts or a less culpable mental state.

 &nbsp;&nbsp;&nbsp;&nbsp;Landwer, 166 Ill. 2d at 486-87. The bill of indictment in this case alleged that

 &nbsp;&nbsp;&nbsp;&nbsp;defendant "committed the offense of Residential Burglary in that he knowingly

 &nbsp;&nbsp;&nbsp;&nbsp;without authority entered the dwelling place of Bob and Rita Williams with the

 &nbsp;&nbsp;&nbsp;&nbsp;intent to commit therein a theft, in violation of [section 19--3 of the Criminal

 &nbsp;&nbsp;&nbsp;&nbsp;Code of 1961]."

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The offense of theft by unauthorized control is committed when a person

 &nbsp;&nbsp;&nbsp;&nbsp;knowingly "[o]btains or exerts unauthorized control over property of the owner"

 &nbsp;&nbsp;&nbsp;&nbsp;and "[i]ntends to deprive the owner permanently of the use or benefit of the

 &nbsp;&nbsp;&nbsp;&nbsp;property." 720 ILCS 5/16--1(a) (West Supp. 1995); see also People v. Jones, 149

 &nbsp;&nbsp;&nbsp;&nbsp;Ill. 2d 288, 296 (1992). By alleging in the indictment that defendant entered the

 &nbsp;&nbsp;&nbsp;&nbsp;Williamses' dwelling place with the intent to commit a theft, the charging

 &nbsp;&nbsp;&nbsp;&nbsp;instrument necessarily infers that defendant intended to obtain unauthorized

 &nbsp;&nbsp;&nbsp;&nbsp;control over and deprive another of property. This intent can typically be inferred,

 &nbsp;&nbsp;&nbsp;&nbsp;as it was in this case, only through showing an actual taking of property.

 &nbsp;&nbsp;&nbsp;&nbsp;Moreover, the indictment expressly charged the specific intent to commit theft,

 &nbsp;&nbsp;&nbsp;&nbsp;which has been deemed sufficient to satisfy the first step of the charging

 &nbsp;&nbsp;&nbsp;&nbsp;instrument approach. See People v. Dace, 104 Ill. 2d 96, 102-03 (1984). Thus, the

 &nbsp;&nbsp;&nbsp;&nbsp;charging instrument in the instant case sufficiently identifies theft as a lesser

 &nbsp;&nbsp;&nbsp;&nbsp;included offense of the charged offense of residential burglary.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The majority of the appellate court in the instant case analyzed the

 &nbsp;&nbsp;&nbsp;&nbsp;charging instrument and concluded that it did not set out the broad foundation of

 &nbsp;&nbsp;&nbsp;&nbsp;theft because the indictment did not mention all the statutory elements of theft.

 &nbsp;&nbsp;&nbsp;&nbsp;However, to warrant instructions on a lesser offense under the charging instrument

 &nbsp;&nbsp;&nbsp;&nbsp;approach, it is not necessary for the charging instrument to expressly allege all the

 &nbsp;&nbsp;&nbsp;&nbsp;elements of the lesser offense. Bryant, 113 Ill. 2d at 505. This court has readily

 &nbsp;&nbsp;&nbsp;&nbsp;found necessary statutory elements to be "implicitly" contained in a charging

 &nbsp;&nbsp;&nbsp;&nbsp;instrument. See, e.g., Jones, 149 Ill. 2d at 296-98; Bryant, 113 Ill. 2d at 505-06.

 &nbsp;&nbsp;&nbsp;&nbsp;Moreover, to conclude that a lesser crime is an included offense, it need not be

 &nbsp;&nbsp;&nbsp;&nbsp;a theoretical or practical necessity of the greater crime. Novak, 163 Ill. 2d at 107.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appellate majority also rejected defendant's arguments which relied on

 &nbsp;&nbsp;&nbsp;&nbsp;People v. Dace, 104 Ill. 2d 96 (1984). The appellate court, reasoning that the

 &nbsp;&nbsp;&nbsp;&nbsp;Dace decision was incompatible with this court's subsequent decision in People

 &nbsp;&nbsp;&nbsp;&nbsp;v. Schmidt, 126 Ill. 2d 179 (1988), found that Dace had been implicitly overruled.

 &nbsp;&nbsp;&nbsp;&nbsp;We find the appellate court's reasoning flawed.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Dace, two defendants in unrelated cases were charged with residential

 &nbsp;&nbsp;&nbsp;&nbsp;burglary with intent to commit a theft. In a consolidated appeal, this court

 &nbsp;&nbsp;&nbsp;&nbsp;examined the charging instruments and the evidence presented at trial and

 &nbsp;&nbsp;&nbsp;&nbsp;concluded that the trial court erred in refusing to instruct the jury on theft. This

 &nbsp;&nbsp;&nbsp;&nbsp;court stated:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"The proof of the offense charged requires proof of the specific intent

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(People v. Toolate (1984), 101 Ill. 2d 301), and the evidence adduced in

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;each case would support a conviction of theft (People v. Housby (1981),

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;84 Ill. 2d 415). We hold that under these circumstances, where the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;information charged the specific intent to commit theft and the offense of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;theft was proved by the evidence, refusal to give defendant's tendered

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;instructions was error." Dace, 104 Ill. 2d at 103.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Although Dace does not refer to the charging instrument approach by

 &nbsp;&nbsp;&nbsp;&nbsp;name, the court nevertheless applied the same two-step analysis of the approach.

 &nbsp;&nbsp;&nbsp;&nbsp;This becomes evident when the Dace progeny is carefully examined. In Bryant,

 &nbsp;&nbsp;&nbsp;&nbsp;this court looked to Dace for guidance on the application of the charging

 &nbsp;&nbsp;&nbsp;&nbsp;instrument approach. See Bryant, 113 Ill. 2d at 503-05. Subsequently, it was

 &nbsp;&nbsp;&nbsp;&nbsp;Bryant from which this court derived the " `broad foundation' " and " `main

 &nbsp;&nbsp;&nbsp;&nbsp;outline' " standards used to determine when a lesser offense is described by a

 &nbsp;&nbsp;&nbsp;&nbsp;charging instrument. See Novak, 163 Ill. 2d at 107, quoting Bryant, 113 Ill. 2d at

 &nbsp;&nbsp;&nbsp;&nbsp;505.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It should not be surprising that this court utilized the charging instrument

 &nbsp;&nbsp;&nbsp;&nbsp;approach in Dace, even though that decision preceded Novak. Contrary to the

 &nbsp;&nbsp;&nbsp;&nbsp;observations of the appellate court and both parties, this court did not first adopt

 &nbsp;&nbsp;&nbsp;&nbsp;the charging instrument approach in Novak. Rather, in Novak we simply

 &nbsp;&nbsp;&nbsp;&nbsp;reaffirmed our preference for this approach (Novak, 163 Ill. 2d at 110-12) and, in

 &nbsp;&nbsp;&nbsp;&nbsp;fact, observed that the charging instrument approach had long been recognized in

 &nbsp;&nbsp;&nbsp;&nbsp;Illinois (Novak, 163 Ill. 2d at 112 (citing People v. Lewis, 375 Ill. 330, 334-36

 &nbsp;&nbsp;&nbsp;&nbsp;(1940), People v. Gilday, 351 Ill. 11, 21-22 (1932), and Earll v. People, 73 Ill.

 &nbsp;&nbsp;&nbsp;&nbsp;329, 332-33 (1874))).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In contrast with Dace, Schmidt simply stands for the proposition that where

 &nbsp;&nbsp;&nbsp;&nbsp;a defendant is charged with a single offense he cannot be convicted of an offense

 &nbsp;&nbsp;&nbsp;&nbsp;not charged unless it is a lesser included offense of the crime for which defendant

 &nbsp;&nbsp;&nbsp;&nbsp;is expressly charged. Schmidt, 126 Ill. 2d at 183; see also Jones, 149 Ill. 2d at

 &nbsp;&nbsp;&nbsp;&nbsp;292. The Dace decision does not differ with Schmidt on this proposition, as this

 &nbsp;&nbsp;&nbsp;&nbsp;court in Schmidt expressly recognized. Schmidt, 126 Ill. 2d at 184-85.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We acknowledge that Schmidt stated that theft is not a lesser included

 &nbsp;&nbsp;&nbsp;&nbsp;offense of burglary. Schmidt, 126 Ill. 2d at 183-84. However, in coming to this

 &nbsp;&nbsp;&nbsp;&nbsp;conclusion, the court merely cited to People v. Baker, 57 Ill. App. 3d 401 (1978).

 &nbsp;&nbsp;&nbsp;&nbsp;A close reading of Baker, however, reveals that the court in that case applied the

 &nbsp;&nbsp;&nbsp;&nbsp;abstract elements approach in holding that theft was not a lesser included offense

 &nbsp;&nbsp;&nbsp;&nbsp;of burglary. Baker, 57 Ill. App. 3d at 404-05. Because this court has since

 &nbsp;&nbsp;&nbsp;&nbsp;expressly rejected the harsh and mechanical abstract elements approach (Novak,

 &nbsp;&nbsp;&nbsp;&nbsp;163 Ill. 2d at 111-13), Schmidt, at least for this particular proposition, has been

 &nbsp;&nbsp;&nbsp;&nbsp;disavowed.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Although we conclude that the charging instrument in the instant case

 &nbsp;&nbsp;&nbsp;&nbsp;sufficiently identified theft as a lesser included offense of residential burglary,

 &nbsp;&nbsp;&nbsp;&nbsp;defendant is not necessarily entitled to a lesser included offense instruction

 &nbsp;&nbsp;&nbsp;&nbsp;(Novak, 163 Ill. 2d at 108). In this case, defendant would be entitled to a lesser

 &nbsp;&nbsp;&nbsp;&nbsp;included offense instruction on theft only if the evidence presented at trial could

 &nbsp;&nbsp;&nbsp;&nbsp;rationally support a finding that defendant was guilty of theft but innocent of

 &nbsp;&nbsp;&nbsp;&nbsp;residential burglary. See Jones, 175 Ill. 2d at 135; Landwer, 166 Ill. 2d at 487-88.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The evidence presented in the instant case could lead a jury to rationally

 &nbsp;&nbsp;&nbsp;&nbsp;conclude that defendant came to the residence to collect a debt, was allowed into

 &nbsp;&nbsp;&nbsp;&nbsp;the home by the Williamses's six-year-old son, and while searching for the woman

 &nbsp;&nbsp;&nbsp;&nbsp;who owed him money found a purse and decided to take it. The State presented

 &nbsp;&nbsp;&nbsp;&nbsp;no direct evidence that defendant possessed the intent to commit a theft at the

 &nbsp;&nbsp;&nbsp;&nbsp;time he entered the dwelling place. Rather, as is common in burglary trials, the

 &nbsp;&nbsp;&nbsp;&nbsp;State presented circumstantial evidence of the requisite intent by establishing that

 &nbsp;&nbsp;&nbsp;&nbsp;defendant committed a theft once inside the dwelling place.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A lesser included offense instruction is proper only where the charged

 &nbsp;&nbsp;&nbsp;&nbsp;greater offense requires the jury to find a disputed factual element that is not

 &nbsp;&nbsp;&nbsp;&nbsp;required for conviction of the lesser included offense. Novak, 163 Ill. 2d at 108.

 &nbsp;&nbsp;&nbsp;&nbsp;In this case, there existed the disputed factual element of whether defendant

 &nbsp;&nbsp;&nbsp;&nbsp;entered the dwelling place with the requisite intent. The jury could have rationally

 &nbsp;&nbsp;&nbsp;&nbsp;concluded that defendant did not formulate the intent to commit a theft until after

 &nbsp;&nbsp;&nbsp;&nbsp;he was inside the Williamses' home. Therefore, the evidence presented at trial

 &nbsp;&nbsp;&nbsp;&nbsp;could have rationally sustained a conviction for theft and an acquittal for

 &nbsp;&nbsp;&nbsp;&nbsp;residential burglary. Thus, we find the trial court erred in refusing to instruct the

 &nbsp;&nbsp;&nbsp;&nbsp;jury on the lesser included offense of theft and, accordingly, reverse and remand

 &nbsp;&nbsp;&nbsp;&nbsp;for a new trial.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;CONCLUSION

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For the reasons set forth herein, the appellate court judgment affirming

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's conviction is reversed. The circuit court judgment is reversed. The

 &nbsp;&nbsp;&nbsp;&nbsp;cause is remanded to the circuit court of McLean County for a new trial.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;Appellate court judgment reversed;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;circuit court judgment reversed;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;cause remanded.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE HARRISON, dissenting:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;I agree with the appellate court that the circuit court did not err when it

 &nbsp;&nbsp;&nbsp;&nbsp;refused to give defendant's instruction on theft. Such an instruction would have

 &nbsp;&nbsp;&nbsp;&nbsp;been proper only if theft were a lesser included offense of residential burglary.

 &nbsp;&nbsp;&nbsp;&nbsp;Under the charging instrument approach followed in Illinois (People v. Novak, 163

 &nbsp;&nbsp;&nbsp;&nbsp;Ill. 2d 93, 112-13 (1994)), theft cannot be considered a lesser included offense of

 &nbsp;&nbsp;&nbsp;&nbsp;residential burglary as that crime was charged here. &nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To be considered a lesser included offense under the charging instrument

 &nbsp;&nbsp;&nbsp;&nbsp;approach, an offense must be described by the charging instrument. At a

 &nbsp;&nbsp;&nbsp;&nbsp;minimum, the instrument charging the greater offense must set out the main

 &nbsp;&nbsp;&nbsp;&nbsp;outline of the lesser offense. People v. Jones, 175 Ill. 2d 126, 135 (1997).

 &nbsp;&nbsp;&nbsp;&nbsp;Contrary to my colleagues, I do not believe that requirement was met in this case.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For there to be theft by unauthorized control, a person must knowingly

 &nbsp;&nbsp;&nbsp;&nbsp;obtain or exert unauthorized control over property of the owner. 720 ILCS 5/16--

 &nbsp;&nbsp;&nbsp;&nbsp;1(a) (West Supp. 1995). This requirement goes to the very heart of the crime. As

 &nbsp;&nbsp;&nbsp;&nbsp;such, it is an indispensable part of any outline of the offense. In the case before

 &nbsp;&nbsp;&nbsp;&nbsp;us, however, nothing in the charging instrument alleged that defendant actually

 &nbsp;&nbsp;&nbsp;&nbsp;took anything that did not belong to him. The instrument alleged simply that

 &nbsp;&nbsp;&nbsp;&nbsp;defendant entered the Williamses' home knowingly and without authority with the

 &nbsp;&nbsp;&nbsp;&nbsp;intent to commit a theft.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The majority argues that a completed theft is implicit in and necessarily

 &nbsp;&nbsp;&nbsp;&nbsp;follows from the charge that defendant intended to commit a theft. That contention

 &nbsp;&nbsp;&nbsp;&nbsp;is valid if and only if intending to do something is the same as actually doing it.

 &nbsp;&nbsp;&nbsp;&nbsp;Common sense and everyday experience are ample proof that such is not the case.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;My colleagues try to find support for their position in People v. Dace, 104

 &nbsp;&nbsp;&nbsp;&nbsp;Ill. 2d 96 (1984), but Dace is not dispositive of this appeal. Contrary to the

 &nbsp;&nbsp;&nbsp;&nbsp;majority's assertion, Dace did not apply or purport to apply the charging

 &nbsp;&nbsp;&nbsp;&nbsp;instruments approach which our court has now adopted. Indeed, that case failed

 &nbsp;&nbsp;&nbsp;&nbsp;to articulate any governing principle for its conclusion that the circuit court should

 &nbsp;&nbsp;&nbsp;&nbsp;have given an instruction on theft where the informations charged only residential

 &nbsp;&nbsp;&nbsp;&nbsp;burglary. Dace, 104 Ill. 2d at 104 (Simon, J., dissenting). Moreover, four years

 &nbsp;&nbsp;&nbsp;&nbsp;after Dace our court specifically held that where the defendant was charged with

 &nbsp;&nbsp;&nbsp;&nbsp;residential burglary based on unauthorized entry with intent to commit theft, as

 &nbsp;&nbsp;&nbsp;&nbsp;defendant was here, he could not be convicted of theft because theft is not a lesser

 &nbsp;&nbsp;&nbsp;&nbsp;included offense of burglary. People v. Schmidt, 126 Ill. 2d 179 (1988).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Following this court's discussion of the charging instrument approach in

 &nbsp;&nbsp;&nbsp;&nbsp;Novak, the appellate court held, as it did in this case, that where an indictment

 &nbsp;&nbsp;&nbsp;&nbsp;charges burglary based on entry of premises with the intent to commit a theft,

 &nbsp;&nbsp;&nbsp;&nbsp;theft is not a lesser included offense, and a defendant's tendered instruction on

 &nbsp;&nbsp;&nbsp;&nbsp;theft was therefore properly rejected by the circuit court. People v. Hage, &nbsp;288 Ill.

 &nbsp;&nbsp;&nbsp;&nbsp;App. 3d 1014, 1020 &nbsp;(1997). I believe this view is the correct one and am

 &nbsp;&nbsp;&nbsp;&nbsp;unpersuaded by the majority's claims to the contrary. &nbsp;Accordingly, I dissent.


